                      IN THE UNITED STATES DISTRICT COURT                       Motion GRANTED.
                     FOR THE MIDDLE DISTRICT OF TENNESSEE                       Hearing reset for
                              COOKVILLE DIVISION                                6/23/14 at 4:00 p.m.


UNITED STATES OF AMERICA                     )
                                             )
                                             )
v.                                           )       No. 2:11-00002-13
                                             )       ALETA A. TRAUGER
                                             )       Judge, United States District Court
EMILY CAROL BRADLEY                          )



             EMILY CAROL BRADLEY’S MOTION TO CONTINUE HER
                SUPERVISED RELEASE REVOCATION HEARING

       COMES now, EMILY CAROL BRADLEY, through counsel, Assistant Federal

Public Defender, Isaiah S. Gant, and moves this Honorable Court to enter an Order

continuing the hearing in this matter, presently scheduled for Friday, June 13, 2014, at

2:00 p.m., to a date shortly after June 20, 2014.

       In support of the foregoing motion, it is respectfully represented to this

Honorable Court the following:

       1. A hearing to revoke Ms. Bradley’s supervised release is scheduled to

commence tomorrow before your Honor at 2:00 p.m.

       2. The parties have reached a tentative settlement in this matter for you Honor’s

approval.

       3. A component of the settlement includes Ms. Bradley’s participation in a drug

treatment program. Ms. Bradley is scheduled to be admitted to the Crisis Center,

Plateau Mental Health Center, Cookville, Tennessee, sometime between today’s date,

June 12, 2014, and Friday, June, 20, 2014.




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